                  Case 2:18-cr-00834-AB Document 13 Filed 12/04/18 Page 1 of 2 Page   ID #:70
                                                                                  ~`l` ,
     Reset Form                                     UNITED STATES DISTRICT COURT                                       ~..,r i '~ c Y,
                                                   CENTRAL DISTRICT OF CALIFORNIA                                                        '°
                                                                CASE SUMMARY

        Case Number                           ~                      ~ '`            efendant Number 1
        U.S.A. v. Jeffrey Craig Yohai                                               Year of Birth 1981
               I ndictment               0✓ Information                 Investigative agency (FBI, DEA,etc.) FBI

 NOTE: All items MUST be completed. If you do not know the answer or a question is not applicable to yoarcase_e~ter "N/A."

 OFFENSE/VENUE                                                                PREVIOUSLY FILED COMPLAINT/CVB ~ITATI(
 a. Offense charged as a:                                                     A complaint/CVB citation was previously filed o~:~~ 10/17/201-8
                                                                              Case Number: 18-2749M                            ~              "`"..
     Class A Misdemeanor ~ Minor Offense ~ Petty Offense                                                                                      °
                                                                                                                                              ~
                                                                              Assigned Judge:     NA                    - -                   ~~
     Class B Misdemeanor ~ Class C Misdemeanor 0 Felony
                                                                              Charging: 18 USC 1349, 1028A,3147        .`      ..
 b. Date of Offense 2017 through October 2018
                                                                              The complaint/CVB citation:                      .~=
 c. County in which first offense occurred
                                                                                  ~✓ is still pending
 Los Angeles                                                                        ❑ was dismissed on:
 d.The crimes charged are alleged to have been committed in
                                                                             PREVIOUS COUNSEL
  (CHECK ALL THAT APPLY):
                                                                             Was defendant previously represented?          0✓ No    ~ Yes
     0 Los Angeles                ~ Ventura
                                                                              IF YES, provide Name:
           Orange                     ~ Santa Barbara
                                                                                     Phone Number:
           Riverside                  ~ San Luis Obispo
                                                                             COMPLEX CASE
           San Bernardino             ❑Other                                 Are there 8 or more defendants in the Indictment/Information?
                                                                                      Yes*        ❑✓ No
 Citation of Offense 18 USC 1349, 1028A,3147
                                                                             Will more than 12 days be required to present government's
                                                                             evidence in the case-in-chief?
 e. Division in which the MAJORITY of events, acts, or omissions                     Yes*         ~✓ No
   giving rise to the crime or crimes charged occurred:                      *AN ORIGINAL AND 1 COPY(UNLESS ELECTRONICALLY FILED)
                                                                             OF THE NOTICE OF COMPLEX CASE MUST BE FILED AT THE
✓ Western (Los Angeles, San Luis Obispo, Santa Barbara, Ventura)
~                                                                            TIME THE INDICTMENT IS FILED IF EITHER "YES" BOX IS
                                                                             CHECKED.
    Eastern (Riverside and San Bernardino) ~ Southern (Orange)
                                                                             SUPERSEDING INDICTMENT/INFORMATION

RELATED CASE                                                                 IS THIS A NEW DEFENDANT?         ❑Yes ~ No

Has an indictment or information involving this defendant and                This is the           superseding charge (i.e., 1st, 2nd).
the same transaction or series of transactions been previously               The superseding case was previously filed on:
filed and dismissed before trial?
       0✓ No       ~ Yes
                                                                             Case Number
       If "Yes," Case Number:
                                                                             The superseded case:
Pursuant to General Order 16-05, criminal cases may be related
if a previously filed indictment or information and the present                  is still pending before Judge/Magistrate Judge
case:
    a. arise out of the same conspiracy,common scheme,
       transaction, series of transactions or events; or                     ❑ was previously dismissed on

   b.involve one or more defendants in common,and would                      Are there 8 or more defendants in the superseding case?
     entail substantial duplication of labor in pretrial, trial or                    Yes*        ~ No
     sentencing proceedings if heard by differentjudges.                     Will more than 12 days be required to present government's
                                                                             evidence in the case-in-chief?
Related case(s), if any(MUST MATCH NOTICE OF RELATED
                                                                                     Yes*         ~ No
CASE):(SEALED),CR 18-11-AB
                                                                             Was a Notice of complex Case filed on the Indictment or
                                                                             I nformation?
                                                                                      Yes         ~ No
                                                                             SAN ORIGINAL AND 1 COPY OF THE NOTICE OF COMPLEX CASE
                                                                             MUST BE FILED ATTHE TIME THE SUPERSEDING INDICTMENT IS
                                                                             FILED IF EITHER "YES" BOX IS CHECKED.
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                                                   UNITED STATES DISTRICT COURT
                                                  CENTRAL DISTRICT OF CALIFORNIA
                                                             CASE SUMMARY

INTERPRETER                                                                CUSTODY STATUS

is an interpreter required?     ❑YES        ~ NO                             Defendant is not in custody:
                                                                             a. Date and time of arrest on complaint:
IF YES, list language and/or dialect:
                                                                              b. Posted bond at complaint level on:
                                                                                  in the amount of $
OTHER                                                                        c.PSA supervision?        ❑Yes ❑ No
✓ Male
0                 ~ Female                                                   d. Is on bail or release from another district:
0 U.S. Citizen    ~ Alien

Alias Names)                                                                 Defendant is in custody:
                                                                             a. Place of incarceration: ~ State          ❑✓ Federal

This defendant is charged in:                                                b. Name of Institution: MDC
    ~✓ All counts                                                            c. If Federal, U.S. Marshals Service Registration Number:
                                                                               75866-112
        Only counts:
                                                                             d. ❑✓ Solely on this charge. Date and time of arrest:
    This defendant is designated as "High Risk" per                            1 1/7/2018
     18 USC § 3146(a)(2) by the U.S. Attorney.                               e. On another conviction:       ~ Yes                ~ No
    This defendant is designated as "Special Case" per                                                       ~ Federal            ~ Writ of Issue
                                                                                   IF YES : ❑State
     18 USC § 3166(b)(7).
                                                                             f. Awaiting trial on other charges: ~ Yes           ❑ No
Is defendant a juvenile?            ❑Yes         ❑✓ No
                                    ❑Yes         ~ No                              IF YES: ~ State      ~ Federal          AND
IF YES,should matter be sealed?
                                                                                  Name of Court:
The areas) of substantive law that will be involved in this case                  Date transferred to federal custody:
indude(s):
    financial institution fraud     ~ public corruption                      This person/proceeding is transferred from another district
                                                                             pursuant to F.R.Cr.P.         20             21             40
    government fraud                    ~ tax offenses
    environmental issues                ~✓ mail/wire fraud
    narcotics offenses                  ~ immigration offenses
    violent crimes/firearms             ~ corporate fraud

❑ Other




EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN:




         Date       11/30/2018
                                                                              nature of Assistant U.S. Attorney
                                                                           Andrew Brown (x0102, 11th Floor)
                                                                           Print Name                                            .. _. -   '~-

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